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IN THE UNITED STATES DISTRICT COURT.
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA =: —8:28-CR-127
ow : _(SAPORITO, C.M.J.)
THOMAS TROTTA,

Defendant:

AND NOW, this 2204 day of May, 2024, IT IS HEREBY ORDERED
I. An onthe-record telephonic conference shall be conducted in the .

above matter:‘on May 23, 2024, at 9:30 a.m. to discuss defendant's Doe. 50

motion for extension of time to self-surrender. o -

2. Counsel shall utilize the following information to access the . 7

conference: ‘TOLL-FREE NUMBER: (688) 251-2909
_ACCESS CODE: 2052706

Chief United States Magistrate J Judge oe

